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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF MISSISSIPPI



UNITED STATES OF AMERICA

     V.
                                                            Case Number: 2:10CR160-SA-JMV
LONZO LEZELL GRIFFIN

                               ORDER SEALING AUDIO RECORDING OF
                                   MAY 4, 2012 HEARING


          On May 4, 2012, the court held a hearing in this matter on the motion of counsel for

Defendant Lonzo Lezell Griffin for leave to withdraw. Because of the confidential nature of the

subject matter of the motion, the court ordered on the record that the entirety of those proceedings

be sealed. Accordingly, it is

          FURTHER ORDERED that the audio recording of the May 4, 2012, hearing on counsel’s

Motion to Withdraw as Attorney (# 480) be, and is hereby, SEALED until further order of the court.

          This, the 8th day of May, 2012.



                                                     /s/ Jane M. Virden
                                                     U. S. MAGISTRATE JUDGE
